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 6   Attorneys for Defendant WESTERN GOVERNORS UNIVERSITY
 7
 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11   LINDSEY MACK, an individual,         ) CASE NO.: '23CV1842 RBM MSB
                                          )
12                                        )
                      Plaintiffs,         ) DECLARATION OF ALISON L.
13                                        )
           vs.                            ) LYNCH IN SUPPORT OF
14                                        ) DEFENDANT WESTERN
     WESTERN GOVERNORS                    ) GOVERNORS UNIVERSITY’S
15   UNIVERSITY, a Nonprofit              )
                                            NOTICE OF REMOVAL
16
     Corporation, and DOES 1 through 20, ))
     inclusive,                           )
17                                        )
                      Defendants.         ) Action Filed:  August 31, 2023
18                                        )
                                          ) Date Removed: October 6, 2023
19                                        )
                                          )
20                                        )
                                          )
21
22         I, Alison L. Lynch, declare and state as follows:
23         1.    I am an attorney duly authorized to practice law before this Court and within
24   the state of California. I am an attorney with the law firm Jackson Lewis P.C., counsel of
25   record for Defendant WESTERN GOVERNORS UNIVERSITY (“WGU.”) in the above-
26   entitled action. I make this declaration in support of WGU’s Notice of Removal.
27
28
     CASE NO.                                     1            DECLARATION OF ALISON
                                                                 LYNCH IN SUPPORT OF
                                                                            REMOVAL
     Case 3:23-cv-01842-RBM-MSB Document 1-3 Filed 10/06/23 PageID.16 Page 2 of 3


 1         2.    The matters set forth in this declaration are based on my own personal
 2   knowledge and, if called upon as a witness, I could and would testify competently
 3   thereto.
 4         3.    On August 31, 2023, Plaintiff Lindsey Mack filed a Complaint naming
 5   WGU in the Superior Court of California for the County of San Diego, bearing Case
 6   Number: 37-2023-00037783-CU-OE-CTL, and alleging the following claims: (1) Sex
 7   Discrimination; (2) Retaliation; (3) Whistleblower Retaliation; (4) Failure to Prevent
 8   Discrimination, Harassment, and Retaliation; (5) Wrongful Termination in Violation of
 9   Public Policy; (6) Failure to Indemnify Necessary Expenditures; and (7) Waiting Time
10   Penalties. A true and correct copy of this Complaint and accompanying Summons is
11   attached hereto as Exhibit A.
12         4.    Defendant WGU was served via personal service with a copy of Plaintiff’s
13   Summons, Complaint and other court related documents on September 8, 2023. A true
14   and correct copy is also attached hereto as Exhibit B.
15         5.    On October 5, 2023, Defendant WGU filed its Answer in San Diego
16   Superior Court. A true and correct copy of the filed Answer is attached hereto as Exhibit
17   C.
18         6.    As of the date of this Notice of Removal, the pleadings and papers in Exhibit
19   A through C constitute all court filings with which Defendant WGU has been served.
20         7.    Plaintiff is represented by attorney Kamran Shahabi from the firm Valiant
21   Law. Kamran Shahabi was admitted to practice in California on June 1, 2011. On
22   September 26, 2023, my office accessed the California State Bar website at:
23   https://apps.calbar.ca.gov/attorney/Licensee/Detail/276194 to access Mr. Shahabi’s
24   admission information. Filed herewith as Exhibit D is a true and correct copy of a
25   printout from the California State Bar website for Mr. Shahabi’s information.
26         8.    I am informed and aware that Defendant WGU is a non-profit corporation
27   organized under the laws of the State of Utah. I went onto the California Secretary of
28   State website and searched for “Western Governors University” in order to confirm this
     CASE NO.                                    2            DECLARATION OF ALISON
                                                                LYNCH IN SUPPORT OF
                                                                           REMOVAL
     Case 3:23-cv-01842-RBM-MSB Document 1-3 Filed 10/06/23 PageID.17 Page 3 of 3


 1   fact. Attached hereto as Exhibit E is a true and correct copy of WGU’s Statement of
 2   Information.
 3           9.       I have represented employers in employment litigation for over 18 years in
 4   California and am familiar with fees awarded to plaintiffs’ counsel in similar actions filed
 5   in California and federal court. Based on my experience and Plaintiff’s allegations, it
 6   would be reasonable to expect that attorneys’ fees alone in this case will exceed the sum
 7   of $75,000 through trial.
 8           I declare under penalty of perjury under the laws of the United States and the State
 9   of California that the foregoing is true and correct. Executed on October 6, 2023, at
10   Irvine, California.
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13                                                  /s/ Alison L. Lynch
14
                                                    Alison L. Lynch

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     4865-4586-5601, v. 2
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     CASE NO.                                        3          DECLARATION OF ALISON
                                                                  LYNCH IN SUPPORT OF
                                                                             REMOVAL
